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                          APPENDIX 1
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    ,~... 14 II.        DISCOVERY DISPUTE NUMBER 1 —EVIDENCE OF FRACTURES IN
                        PROFEMUR COCR NECKS
w            15
w                       A.     Plaintiffs' Document Demand and Defendants' Responses
        m    16
                               1.    Defendant Wright Medical Technology,Inc.
             17
                        REQUEST FOR PRODUCTION NO. 1:
             18         All DOCUMENTS which RELATE TO COMMUNICATIONS YOU sent to or
                        received from the U.S. Food and Drug Administration("FDA")concerning the
             19         PROFEMUR DEVICE with the CoCr NECK,including but not limited to the
             20         FDA regulatory file and any supplementation, addition, amendment to same.

             21         RESPONSE TO REQUEST FOR PRODUCTION NO. 1:
                        The general objections above are incorporated by reference as though fully set
             22         forth herein. Wright Medical objects to this Request on the grounds that it seeks
             23         information neither relevant to the subject matter of this litigation nor
                        proportional to the needs ofthe case. Specifically,this Request seeks documents,
             24         for an unlimited period oftime, which pertain to products which Plaintiffdid not
                        receive and which are not at issue in this case. Subject to, and without waiver of,
             25         the foregoing objections, Wright Medical will produce, upon the entry of a
                        stipulated confidentiality order, the regulatory files for the products which
             26         Plaintiff received and are at issue in this case.
             27
                        REQUEST FOR PRODUCTION NO. 3:
             28         All DOCUMENTS which RELATE TO the substance of meetings YOU had

                   JOINT STIPULATION RE: PLAINTIFFS' MOTION TO COMPEL FURTHER DISCOVERY RESPONSES AND
                                             PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                     with the FDA RELATING to the PROFEMUR DEVICE with the CoCr NECK,
                     including but not limited to the FDA regulatory file and any supplementation,
            2        addition, amendment to same.
            3
                     RESPONSE TO REQUEST FOR PRODUCTION NO. 3:
            4        The general objections above are incorporated by reference as though fully set
                     forth herein. Wright Medical objects to this Request on the grounds that it seeks
            5        information neither relevant to the subject matter of this litigation nor
                     proportional to the needs ofthe case. Specifically,this Request seeks documents,
            6        for an unlimited period of time, relating to any and all communications
            7        regardless of the substance, which pertain to products which Plaintiff did not
                     receive and which are not at issue in this case. Read literally this Request seeks
            8        any and all documents related to the FDA,having any arguable connection to the
                     products at issue in this case, regardless as to whether the communication has
            9        anything to do with the allegations and theories ofdefect pled in the Complaint.
           10        Subject to, and without waiver of, the foregoing objections, upon the entry of a
                     stipulated confidentiality order, Wright Medical will produce the regulatory files
           11        for the products which Plaintiff received and are at issue in this case.
a          12        REQUEST FOR PRODUCTION NO. 5:
a   30
     ..,             All DOCiTMENTS which RELATE TO COMMUNICATIONS from 2009 to
       13            present concerning a potential or actual recall ofthe CoCr NECK,including, but
  ~~
    ~' 14
  ~,^                not limited to, minutes of meetings in which a recall was discussed.
a ~
  ~s
w o ~ 15             RESPONSE TO REQUEST FOR PRODUCTION NO. 5:
 '  "
w                    The general objections above are incorporated by reference as though fully set
      as   16        forth herein. Wright Medical objects to this Request to the extent that it seeks
           17        documents which pertain to the decisions and conduct of a third party, over
                     whom Wright Medical has no control. Wright Medical further objects to this
           18        Request on the grounds that it seeks information neither relevant to the subject
                     matter of this litigation nor proportional to the needs of the case. Specifically,
           19        this Request seeks documents,for an unlimited period oftime, which pertain to
                     products which Plaintiff did not receive and which are not at issue in this case.
           20        Subject to, and without waiver of, the foregoing objections, upon the entry of a
           21        stipulated confidentiality order, Wright Medical will produce risk assessment
                     and analysis forms it prepared for the PROFEMUR~ modular neck component
           22        at issue, which may include information responsive to this Request.
           23        REQUEST FOR PRODUCTION NO.7:
           24        All DOCUMENTS which RELATE TO reports ofimplant failures RELATING
                     TO the PROFEMiJR DEVICE with the CoCr NECK.
           25
                     RESPONSE TO REQUEST FOR PRODUCTION NO. 7:
           26        The general objections above are incorporated by reference as though fully set
                     forth herein. Wright Medical objects to this Request as overbroad and
           27        disproportionate tothe needs ofthis case because it seeks documents concerning
           28        other product failures involving different patients with different product

                JOINT STIPULATION RE: PLAINTIFFS' MOTION TO COMPEL FURTHER DISCOVERY RESPONSES AND
                                          PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                    configurations, treated by different physicians and surgeons, with differing
                    medical conditions and circumstances, all of which have no relevance to the
           2        claims asserted by Plaintiff in this case. Wright Medical further objects that the
           3        term "implant failures" is vague, ambiguous and undefined within the context of
                    this Request and could include instances having nothing to do with the
           4        allegations or theories at issue in this matter. Wright Medical further objects to
                    this Request to the extent it seeks information and documents, for an unlimited
           5        period of time, which pertain to reports of "implant failures" concerning
                    products which Plaintiff did not receive and which are not at issue in this case.
           6        Subject to, and without waiver of, the foregoing objections, upon the entry of a
           7        stipulated confidentiality order, Wright Medical will produce responsive
                    documents for fracture complaints of the modular neck component which
           8        Plaintiff received and is at issue in this case, including Plaintiffs complaint file,
                    which contain information responsive to this Request as it pertains to Plaintiff
           9        and the modular neck component she received.
          10
                    REQUEST FOR PRODUCTION NO. 8:
          11        All DOCUMENTS which RELATE TO any COMMUNICATIONS regarding
                    implant failures, including but not limited to fracture and corrosion-related
a         12        failures, ofthe PROFEMLJR CoCr Neck.
  30 ._
3~ ~      13
a ~~,~    14        RESPONSE TO REQUEST FOR PRODUCTION NO. 8:
a                   The general objections above are incorporated by reference as though fully set
w o       15        forth herein. Wright Medical objects to this Request as overbroad and
     ''
w                   disproportionate to the needs ofthis case because it seeks documents concerning
i         16        a failure mode(corrosion)and products that are not at issue in this case. Wright
          17        Medical further objects on grounds this Request seeks documents concerning
                    other product failures involving different patients with different product
          18        configurations, treated by different physicians and surgeons, with differing
                    medical conditions and circumstances, all of which have no relevance to the
          19        claims asserted by Plaintiff in this case. Wright Medical further objects that the
                    term "implant failures" is vague, ambiguous and undefined within the context of
          20        this Request and could include instances having nothing to do with the
          21        allegations or theories at issue in this matter. Subject to, and without waiver of,
                    the foregoing objections, upon the entry of a stipulated confidentiality order,
          22        Wright Medical will produce responsive documents for fracture complaints of
                    the modular neck component which Plaintiffreceived and is at issue in this case,
          23        including Plaintiffs complaint file, which contain information responsive to this
          24        Request as it pertains to Plaintiffand the modular neck component she received.

          25        REQUEST FOR PRODUCTION NO. 10:
                    All promotional and marketing materials YOU drafted, approved, published, or
          26        distributed concerning the PROFEMLJR DEVICE,including, but not limited to,
                    drafts of such promotional and marketing materials.
          27
          28        RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

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                                        PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                     The general objections above are incorporated by reference as though fully set
                     forth herein. Wright Medical objects to this Request on the grounds that it seeks
            2        information neither relevant to the subject matter of this litigation nor
            3        proportional to the needs ofthe case. Specifically,this Request seeks documents,
                     for the lifespan ofthe PROFEMUR~ product line, which extends over 30 years
            4        and includes products which Plaintiff did not receive and which are not at issue
                     in this case. Moreover, Wright Medical objects on the grounds that this Request
            5        seeks documents which neither Plaintiff nor her treating physicians reviewed or
                     relied upon. Subject to, and without waiver of,the foregoing objections, Wright
            6        Medical will produce marketing materials for the modular neck component
            7        which Plaintiff received and is at issue in this case.

            8        REQUEST FOR PRODUCTION NO. 12:
                     All DOCUMENTS which RELATE TO PATIENT or physician complaints
            9        reported to YOU or NIICROPORT concerning the PROFEMUR DEVICE.
           10
                     RESPONSE TO REQUEST FOR PRODUCTION NO. 12:
           11        The general objections above are incorporated by reference as though fully set
                     forth herein. Wright Medical objects on grounds this Request seeks documents
a          12        concerning a third party over whom Wright Medical has no control. Wright
    3 w              Medical further objects on the grounds that this Request seeks information
    a ..   13        neither relevant to the subject matter of this litigation nor proportional to the
    ~ U
   ~, ~' 14          needs of the case because it seeks documents, for an unlimited period of time,
                     which pertain to "PATIENT or physician complaints" concerning products
w 0~ z 15            which Plaintiff did not receive and which are not at issue in this case. Moreover,
     °"
w                    this Request seeks documents concerning other product complaints concerning
i oa 16
                     different patients with different product configurations, treated by different
           17        physicians and surgeons, with differing medical conditions and circumstances,
                     all of which have no relevance to the claims asserted by Plaintiff in this case.
           18        Subject to, and without waiver of, the foregoing objections, upon the entry of a
                     stipulated confidentiality order, Wright Medical will produce responsive
           19        documents for fracture complaints of the modular neck component which
                     Plaintiff received and is at issue in this case, including Plaintiffs complaint file,
           20        which contain information responsive to this Request as it pertains to Plaintiff
           21        and the modular neck component she received.

           22        REQUEST FOR PRODUCTION NO. 14:
                     All DOCUMENTS which RELATE TO reports of adverse events or implant
           23        failures concerning the PROFEMUR DEVICE.
           24
                     RESPONSE TO REQUEST FOR PRODUCTION NO. 14:
           25        The general objections above are incorporated by reference as though fully set
                     forth herein. Wright Medical objects to this Request on the grounds that it seeks
           26        information neither relevant to the subject matter of this litigation nor
                     proportional to the needs of the case because it seeks documents, for an
           27        unlimited period oftime, which pertain to "reports of adverse events or implant
           28        failures" concerning products which Plaintiff did not receive and which are not

                JOINT STIPULATION RE: PLAINTIFFS' MOTION TO COMPEL FURTHER DISCOVERY RESPONSES AND
                                          PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                     at issue in this case. Moreover,this Request seeks documents concerning other
                     adverse events and/or implant failures concerning different patients with
            2        different product configurations, treated by different physicians and surgeons,
            3        with differing medical conditions and circumstances, all of which have no
                     relevance to the claims asserted by Plaintiffin this case. Wright Medical further
            4        objects that the terms "adverse events" and "implant failures" are vague,
                     ambiguous and undefined within the context of this Request and could include
            5        instances having nothing to do with the allegations or theories at issue in this
                     matter. Subject to, and without waiver of, the foregoing objections, upon the
            6        entry of a stipulated confidentiality order, Wright Medical will produce
            7        responsive documents for fracture complaints of the modular neck component
                     which Plaintiffreceived and is at issue in this case,including Plaintiffs complaint
            8        file, which contain information responsive to this Request as it pertains to
                     Plaintiff and the modular neck component she received.
            9
           10        REQUEST FOR PRODUCTION NO. 15:
                     All product labels, package inserts, or Instructions for Use ("IFU") that YOU
           11        drafted, approved, published or distributed concerning the PROFEMLJR
                     DEVICE and the IMPLANT COMPONENTS.
a          12
    3                RESPONSE TO REQUEST FOR PRODUCTION NO. 15:
3.a .., 13           The general objections above are incorporated by reference as though fully set
  ~ U
  ~ ~ 14
a ~                  forth herein. Wright Medical objects to this Request on the grounds that it seeks
    —                information neither relevant to the subject matter of this litigation nor
  E x
W o ~,
    ~ ~,   15        proportional to the needs ofthe case. Specifically,this Request seeks documents,
w                    for an unlimited period of time, concerning products which Plaintiff did not
i          16        receive and which are not at issue in this case. Moreover, this Request is
           17        overbroad as it seeks versions and variations of labels and documents not
                     received or reviewed by Plaintiffs surgeon. Subject to, and without waiver of,the
           18        foregoing objections, Wright Medical responds that it will produce the IFUs
                     accompanying the components which Plaintiff received.
           19
                     REQUEST FOR PRODUCTION NO. 16:
           20        All DOCUMENTS sufficient to show the warnings YOU provided to
           21        PATIENTS or their implanting surgeons concerning the risks of the
                     PROFEMUR DEVICE with the CoCr NECK.
           22
                     RESPONSE TO REQUEST FOR PRODUCTION NO. 16:
           23        The general objections above are incorporated by reference as though fully set
           24        forth herein. Wright Medical objects to this Request on the grounds that it seeks
                     information neither relevant to the subject matter of this litigation nor
           25        proportional to the needs of the case. Specifically, this .Request seeks
                     documents,for an unlimited period oftime,concerning products which Plaintiff
           26        did not receive and which are not at issue in this case. Moreover, this Request
                     seeks documents concerning different patients, product configurations, and
           27        surgeons which have no relevance to this matter. Subject to, and without waiver
           28        of, the foregoing objections, Wright Medical responds that it will produce the

                JOINT STIPULATION RE: PLAINTIFFS' MOTION TO COMPEL FURTHER DISCOVERY RESPONSES AND
                                          PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                      IFUs which accompanied the products Plaintiff received, and marketing
                      materials applicable to the modular neck component received by Plaintiff.
             2
             3        REQUEST FOR PRODUCTION NO. 17:
                      All DOCUMENTS concerning testing or studies YOU conducted RELATING
             4        TO the PROFEMUR DEVICE with the CoCr NECK.
             5        RESPONSE TO REQUEST FOR PRODUCTION NO. 17:
                      The general objections above are incorporated by reference as though fully set
             6        forth herein. Wright Medical objects to this Request on the grounds that it seeks
             7        documents,for an unlimited period oftime,concerning products which Plaintiff
                      did not receive and which are not at issue in this case, and are therefore not
             8        relevant or proportionate to the needs ofthis case. Subject to, and without waiver
                      of, the foregoing objections, upon the entry ofa stipulated confidentiality order,
             9        Wright Medical responds that it will produce the device development file and
            10        testing reports for the modular neck component which Plaintiffreceived and is at
                      issue in this case.
            11
                      REQUEST FOR PRODUCTION NO.21:
a           12        All claims summary databases or spreadsheets, which track or reflect failures or
a 3 ~ w_              complaints regarding the PROFEMUR DEVICE,including, but not limited to,
3~ U        13        any claims database or spreadsheet that identifies complaints regarding the
       ~;   14        PROFEMUR DEVICE by the following categories: incident number; date;
   ~~                 product ID; product; lot number; incident description; and investigation
w ~~o z
      ,,
      ~,    15        summary.
w
i m         16        RESPONSE TO REQUEST FOR PRODUCTION NO. 21:
            17        The general objections above are incorporated by reference as though fully set
                      forth herein. Wright Medical objects to this Request on the grounds that it seeks
            18        information neither relevant to the subject matter of this litigation nor
                      proportional to the needs of the case because it seeks documents, for an
            19        unlimited period of time, concerning a failure mode (corrosion) and products
                      which Plaintiff did not receive and which are not at issue in this case. Moreover,
            20        this Request seeks documents concerning other product failures and complaints
            21        concerning different patients, treated by different physicians and surgeons, with
                      unique component configurations and differing medical conditions and
            22        circumstances, all of which have no relevance to the claims asserted by Plaintiff
                      in this case. Subject to, and without waiver of,the foregoing objections, upon the
            23        entry of a stipulated confidentiality order, Wright Medical responds that it will
            24        produce responsive documents for fracture complaints of the modular neck
                      component which Plaintiff received and is at issue in this case.
            25
                      REQUEST FOR PRODUCTION NO. 22:
            26        All claims summary databases or spreadsheets, which track or reflect failures,
                      fractures, or complaints regarding the PROFEMUR DEVICE,including, but not
            27        limited to, any claims database or spreadsheets prepared, developed, and/or
            28        maintained by Rich Obert.

                 JOINT STIPULATION RE:PLAINTIFFS' MOTION TO COMPEL FURTHER DISCOVERY RESPONSES AND
                                          PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                     RESPONSE TO REQUEST FOR.PRODUCTION NO.22:
            2        The general objections above are incorporated by reference as though fully set
            3        forth herein. Wright Medical objects to this Request on the grounds that it seeks
                     information neither relevant to the subject matter of this litigation nor
            4        proportional to the needs of the case because it seeks documents, for an
                     unlimited period of time, concerning a failure mode (corrosion) and products
            5        which Plaintiff did not receive and which are not at issue in this case. Moreover,
                     this Request seeks documents concerning other product failures and complaints
            6        concerning different patients, treated by different physicians and surgeons, with
            7        unique component configurations and differing medical conditions and
                     circumstances, all of which have no relevance to the claims asserted by Plaintiff
            8        in this case. Subject to, and without waiver of,the foregoing objections, upon the
                     entry of a stipulated confidentiality order, Wright Medical responds that it will
            9        produce responsive documents for fracture complaints of the modular neck
           10        component which Plaintiff received and is at issue in this case.

           11        REQUEST FOR PRODUCTION NO.24:
                     The design history file, design control file, or design dossier DOCUMENTS
a          12        RELATING TO the design and development of the PROFEMLTR NECKS
a   3 ._
      w              manufactured, designed, and/or marketed by WRIGHT, Cremascoli, and/or
           13        NIICROPORT.
    ~ U
      ~;
a       14
   ~ x               RESPONSE TO REQUEST FOR PRODUCTION NO. 24:
w ~o ~.
     T 15            The general objections above are incorporated by reference as though fully set
w                    forth herein. Wright Medical objects to this Request on grounds that it seeks
i oa 16
                     documents which pertain to a third party over whom Wright Medical has no
           17        control. Wright Medical further objects to this Request on the grounds that it
                     seeks information neither relevant to the subject matter of this litigation nor
           18        proportional to the needs of the case because it seeks documents, for an
                     unlimited period oftime,concerning products which Plaintiffdid not receive and
           19        which are not at issue in this case. Subject to, and without waiver of, the
                     foregoing objections, upon the entry ofa stipulated confidentiality order, Wright
           20        Medical responds that it will produce the device development file for the
           21        modular neck component which Plaintiff received and is at issue in this case.

           22        REQUEST FOR PRODUCTION NO.25:
                     All DOCUMENTS,including but not limited to investigations, internal studies,
           23        reports,PowerPoint presentations, or other similar material,that address failure
           24        rates) of all modular neck systems, the demographics of such failures, and
                     projections ofthe number, percentage, or rate of future failures.
           25
                     RESPONSE TO REQUEST FOR PRODUCTION NO. 25:
           26        The general objections above are incorporated by reference as though fully set
                     forth herein. Wright Medical objects to this Request on the grounds that it seeks
           27        information neither relevant to the subject matter of this litigation nor
           28        proportional to the needs of the case because it seeks documents, for an
                                                        13
                JOINT STIPULATION RE: PLAINTIFFS' MOTION TO COMPEL FURTHER DISCOVERY RESPONSES AND
                                          PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                    unlimited period oftime,concerning products which Plaintiffdid not receive and
                    which are not at issue in this case. Moreover, this Request seeks documents
           2        concerning other product failures concerning different patients, treated by
           3        different physicians and surgeons, with unique component configurations and
                    differing medical conditions and circumstances, all of which have no relevance
           4        to the claims asserted by Plaintiffin this case. Wright Medical further objects to
                    the extent the Request seeks documents authored and maintained by a party over
           5        whom Wright Medical has no control. Wright Medical further objects that the
                    terms "investigations, internal studies, reports, PowerPoint presentations, or
           6        other similar material" and "all modular neck systems" are vague, ambiguous
           7        and undefined within the context ofthis Request. Subject to, and without waiver
                    of, the foregoing objections, upon the entry ofa stipulated confidentiality order,
           8        Wright Medical responds that it will produce responsive documents for the
                    modular neck component which Plaintiff received and is at issue in this case,
           9        including, but not limited to,the responsive post-market surveillance reports for
          10        the modular neck component which Plaintiff received.

          11        REQUEST FOR PRODUCTION NO.27:
                    All DOCUMENTS and supporting data which reflect the total number, by
a       12          model, ofPROFEMUR CoCr NECKS distributed/sold/implantedworldwide on
a 3~~ _ 13          an annual basis from 2009 to present.
3.
d ~~                RESPONSE TO REQUEST FOR PRODUCTION NO. 27:
   ~ ~ 14           The general objections above are incorporated by reference as though fully set
w ~~ z~ 15          forth herein. Wright Medical objects on the grounds that it no longer distributes
w                   or sells the"PROFEMUR CoCrNECKS." Wright Medical further objects to this
     as   16        Request on the grounds that it seeks information neither relevant to the subject
          17        matter ofthis litigation nor proportional to the needs ofthe case because it seeks
                    documents concerning products which Plaintiffdid not receive and which are not
          18        at issue in this case. Moreover, information concerning the number of"PRO
                    FEMUR CoCr NECKS" Wright Medical has "distributed/sold/implanted
          19        worldwide" has no relevance to the product liability claims asserted by Plaintiff
                    in this case. Subject to, and without waiver of,the foregoing objections, upon the
          20        entry of a stipulated confidentiality order, Wright Medical responds that it will
          21        produce responsive documents for the modular neck component which Plaintiff
                    received and is at issue in this case.
          22
                    REQUEST FOR PRODUCTION NO. 29:
          23        All DOCUMENTS and supporting data which reflect the total number, by
          24        model,ofPROFEMUR CoCr NECKS distributed/sold/implanteddomestically in
                    the United States on an annual basis from 2009 to present.
          25
                    RESPONSE TO REQUEST FOR PRODUCTION NO. 29:
          26        The general objections above are incorporated by reference as though fully set
                    forth herein. Wright Medical objects on the grounds that it no longer distributes
          27        or sells the"PROFEMUR CoCr NECKS." Wright Medical further objects to this
          28        Request on the grounds that it seeks information neither relevant to the subject

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                                         PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                    matter ofthis litigation nor proportional to the needs ofthe case because it seeks
                    documents concerning products which Plaintiffdid not receive and which are not
           2        at issue in this case. Moreover, information concerning the number of
           3        "PROFEMLTR CoCr NECKS" Wright Medical has "distributed/sold/implanted
                    domestically" has no relevance to the product liability claims asserted by
           4        Plaintiff in this case. Subject to, and without waiver of,the foregoing objections,
                    upon the entry ofa stipulated confidentiality order, Wright Medical responds that
           5        it will produce responsive documents for the modular neck component which
                    Plaintiff received and is at issue in this case.
           6
           7        REQUEST FOR PRODUCTION NO. 30:
                    All data and DOCUMENTS which reflect the total number, by model, of
           8        PROFEMUR NECKS that have been reported to have failed due to corrosion in
                    the United States on an annual basis from 2000 to present.
           9
          10        RESPONSE TO REQUEST FOR PRODUCTION NO. 30:
                    The general objections above are incorporated by reference as though fully set
          11        forth herein. Wright Medical objects on grounds that this Request seeks
                    documents concerning a failure mode(corrosion)not at issue in this case. Wright
a~ .~     12        Medical further objects to this Request on the grounds that it seeks information
a 3 ..              neither relevant to the subject matter of this litigation nor proportional to the
3a   ~    13        needs ofthe case because it seeks documents concerning multiple products-some
  ~ U
          14        of which are comprised ofdifferent materials-which Plaintiffdid not receive and
  ~~,^              which are not at issue in this case. Moreover, this Request seeks documents
w o ~, 15           concerning other product failures concerning different patients, treated by
w                   different physicians and surgeons, with unique component configurations and
's   oa   16        differing medical conditions and circumstances, all of which have no relevance
          17        to the claims asserted by Plaintiffin this case. Wright Medical further objects to
                    the extent the Request seeks documents authored and maintained by a party over
          18        whom Wright Medical has no control.
          19        REQUEST FOR PRODUCTION NO. 33:
                    All data and DOCUMENTS which reflect the total number, by model, of CoCr
          20        NECKS which were reported to YOU, Cremascoli, or MICROPORT as
          21        fractured in the United States from 2009 to present.

          22        RESPONSE TO REQUEST FOR PRODUCTION NO. 33:
                    The general objections above are incorporated by reference as though fully set
          23        forth herein. Wright Medical objects to the extent the Request seeks documents
          24        authored and maintained by a party over whom Wright Medical has no control.
                    Wright Medical further objects to this Request on the grounds that it seeks
          25        information neither relevant to the subject matter of this litigation nor
                    proportional to the needs of the case because it seeks documents concerning
          26        multiple products which Plaintiff did not receive and which are not at issue in
                    this case. Moreover, this Request seeks documents concerning other product
          27        failures concerning different patients, treated by different physicians and
          28        surgeons, with unique component configurations and differing medical

               JOINT STIPULATION RE: PLAINTIFFS' MOTION TO COMPEL FURTHER DISCOVERY RESPONSES AND
                                         PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                    conditions and circumstances, all of which have no relevance to the claims
                    asserted by Plaintiffin this case. Subject to, and without waiver of,the foregoing
           2        objections, upon the entry of a stipulated confidentiality order, Wright Medical
           3        responds that it will produce responsive documents for fracture complaints ofthe
                    modular neck component which Plaintiff received and is at issue in this case.
           4
                    REQUEST FOR PRODUCTION NO. 35:
           5        All data and DOCUMENTS which reflect the total number, by model, of CoCr
                    NECKS which were reported to YOU, Cremascoli, or MICROPORT as
           6        fractured worldwide from 2009 to present.
           7
                    RESPONSE TO REQUEST FOR PRODUCTION NO. 35:
           8        The general objections above are incorporated by reference as though fully set
                    forth herein. Wright Medical objects to the extent the Request seeks documents
           9        authored and maintained by a party over whom Wright Medical has no control.
          10        Wright Medical further objects to this Request on the grounds that it seeks
                    information neither relevant to the subject matter of this litigation nor
          11        proportional to the needs of the case because it seeks documents concerning
                    multiple products which Plaintiff did not receive and which are not at issue in
a         12        this case. Moreover, this Request seeks documents concerning other product
a 3  w              failures concerning different patients, treated by different physicians and
  ~~ ~_
3 ~ U 13            surgeons, with unique component configurations and differing medical
                    conditions and circumstances, all of which have no relevance to the claims
     = 14
     =
   ~ ~              asserted by Plaintiffin this case. Subject to, and without waiver of,the foregoing
w ~o ~.
     ,, 15          objections, upon the entry ofa stipulated confidentiality order, Wright Medical
w                   responds that it will produce responsive documents for fracture complaints ofthe
i       16          modular neck component which Plaintiff received and is at issue in this case.
          17
                    REQUEST FOR PRODUCTION NO. 37:
          18        All DOCUMENTS which RELATE TO minutes of meetings, correspondence,
                    emails, reports, directives, memos, cost analysis, cost-benefit analysis, design
          19        specifications,testing data or other DOCUMENTS RELATING TO WRIGHT'S
                    consideration of any and all alternative designs, manufacturing methods, metal
          20        alloy types, or component composition to the PROFEMLTR DEVICE.
          21
                    RESPONSE TO REQUEST FOR PRODUCTION NO. 37:
          22        The general objections above are incorporated by reference as though fully set
                    forth herein. Wright Medical objects that the terms "minutes of meetings,
          23        correspondence, emails, reports, directives, memos, cost analysis, cost-benefit
          24        analysis, design specifications,testing data or other DOCUMENTS"are vague,
                    ambiguous and undefined within the context of this Request. Wright Medical
          25        objects to this Request on the grounds that it seeks information neither relevant
                    to the subject matter of this litigation nor proportional to the needs of the case
          26        because it seeks documents,for an unlimited period oftime,concerning products
                    which Plaintiff did not receive and which are not at issue in this case. Subject to,
          27        and without waiver of, the foregoing objections, upon the entry of a stipulated
          28        confidentiality order, Wright Medical responds that it will produce the device

               JOINT STIPULATION RE: PLAINTIFFS' MOTION TO COMPEL FURTHER DISCOVERY RESPONSES AND
                                         PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                    development file for the modular neck component which Plaintiffreceived and is
                    at issue in this case.
         2
         3         REQUEST FOR PRODUCTION NO.40:
                   All DOCUMENTS which RELATE TO COMMUNICATIONS between YOU
         4         and any implanting surgeon user discussing concerns related to corrosion and
                   failure ofthe PROFEMUR DEVICE from 2000 to present.
         5
                   RESPONSE TO REQUEST FOR PRODUCTION NO.40:
         6         The general objections above are incorporated by reference as though fully set
         7         forth herein. Wright Medical objects on grounds that this Request seeks
                   documents concerning a failure mode(corrosion)not at issue in this case, which
         8         therefore have no relevance to the claims asserted by Plaintiff. Wright Medical
                   further objects to this Request on the grounds it is vastly overbroad and unduly
         9         burdensome in that it seeks any and all communications,regardless ofsource,for
        10         information neither relevant to the subject matter of this litigation nor
                   proportional to the needs of the case because it seeks documents concerning
        11         products-some ofwhich are comprised ofa different material-which Plaintiffdid
                   not receive and which are not at issue in this case. Moreover,this Request seeks
a        12        communications concerning other product failures concerning different patients,
a 3. w.            treated by different physicians and surgeons, with unique component
3 ~ U 13
  a                configurations and differing medical conditions and circumstances, all ofwhich
   ~, ~' 14        have no relevance to the claims asserted by Plaintiffin this case. Wright Medical
                   further objects to the extent the Request seeks documents authored and
w o~ z
     ,,
 '    " 15         maintained by a party over whom Wright Medical has no control. Subject to, and
w                  without waiver of, the foregoing objections, upon the entry of a stipulated
i m 16
                   confidentiality order, Wright Medical responds that it will produce responsive
        17         documents for fracture complaints of the modular neck component which
                   Plaintiff received and is at issue in this case, including Plaintiffs complaint file,
        18         which contain information responsive to this Request as it pertains to Plaintiff
                   and the modular neck component she received.
        19
                   REQUEST FOR PRODUCTION NO.41:
        20         All DOCUMENTS which RELATE TO COMMUNICATIONS between YOU
        21         and any PERSON or entity, including but not limited to the FDA or
                   MICROPORT, concerning complaints about fractured CoCr NECK fracture
        22         components from 2009 to present.
        23         RESPONSE TO REQUEST FOR PRODUCTION NO.41:
        24         The general objections above are incorporated by reference as though fully set
                   forth herein. Wright Medical objects to this Request on the grounds it is vastly
        25         overbroad and unduly burdensome in that it seeks any and all communications,
                   regardless ofsource,for information neither relevant to the subject matter ofthis
        26         litigation nor proportional to the needs of the case because it seeks documents
                   concerning products which Plaintiff did not receive and which are not at issue in
        27         this case. Moreover, this Request seeks communications concerning other
        28         product failures concerning different patients,treated by different physicians and

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                                        PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                     surgeons, with unique component configurations and differing medical
                     conditions and circumstances, all of which have no relevance to the claims
           2         asserted by Plaintiffin this case. Wright Medical further objects to the extent the
           3         Request seeks documents authored and maintained by a party over whom Wright
                     Medical has no control. Subject to, and without waiver of, the foregoing
           4         objections, upon the entry of a stipulated confidentiality order, Wright Medical
                     responds that it will produce responsive documents for fracture complaints ofthe
           5         modular neck component which Plaintiff received and is at issue in this case,
                     including Plaintiffs complaint file, which contain information responsive to this
           6         Request as it pertains to Plaintiffand the modular neck component she received.
           7
                     REQUEST FOR PRODUCTION NO.42:
           8         All DOCUMENTS which RELATE TO COMMUNICATIONS concerning post-
                     market surveillance ofthe PROFEMUR DEVICE from 2000 to present.
           9
          10         RESPONSE TO REQUEST FOR PRODUCTION NO.42:
                     The general objections above are incorporated by reference as though fully set
          11         forth herein. Wright Medical objects to the extent the Request seeks documents
                     authored and maintained by a party over whom Wright Medical has no control.
a         12         Wright Medical further objects to this Request on the grounds that it seeks
    3 w              information neither relevant to the subject matter of this litigation nor
3. a ._ 13           proportional to the needs of the case because it seeks documents concerning
  ~~  ~;             products —some ofwhich are comprised ofa different material —which Plaintiff
  ~ ~ 14             did not receive and which are not at issue in this case. Subject to, and without
w ~o ~T 15           waiver of,the foregoing objections, upon the entry ofa stipulated confidentiality
w                    order, Wright Medical responds that it will produce the post-market surveillance
i        16          reports for the modular neck component which Plaintiff received and is at issue
          17         in this case.

          18         REQUEST FOR PRODUCTION NO.43:
                     Medical literature, papers, podium presentations, poster presentations, research,
          19         texts, treatises, or other similar DOCUMENTS,regardless ofwhether published
                     or peer reviewed,received or generated by or on YOUR behalffrom January 1,
          20         2000 to the present, RELATING TO the integrity, wear-rate, micromotion,
          21         corroding, fretting, or fracturing of PROFEMUR Ti6A14V MODULAR
                     NECKS, regardless of the exact language used, and regardless of whether it
          22         specifically addresses a WRIGHT or MICROPORT device.
          23         RESPONSE TO REQUEST FOR PRODUCTION NO.43:
          24         The general objections above are incorporated by reference as though fully set
                     forth herein. Wright Medical objects to this Request on the grounds that it seeks
          25         information neither relevant to the subject matter of this litigation nor
                     proportional to the needs ofthe case because it seeks documents, pre-dating by
          26         nearly a decade the launch of the modular neck component at issue here,
                     concerning a failure mode (corrosion) and products comprised of a different
          27,        material which Plaintiff did not receive and which are not at issue in this case,
          28         and products which were not even designed, developed, manufactured, or sold
                                                         18
                JOINT STIPULATION RE: PLAINTIFFS' MOTION TO COMPEL FURTHER DISCOVERY RESPONSES AND
                                          PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                       by Wright Medical. Wright Medical further objects to the extent the Request
                       seeks documents authored and maintained by a party over whom Wright Medical
              2        has no control. Subject to, and without waiver of,the foregoing objections, upon
              3        the entry of a stipulated confidentiality order, Wright Medical responds that it
                       will produce the device development file and post-market surveillance reports
              4        for the modular neck component which Plaintiff received and is at issue in this
                       case.
              5
                       REQUEST FOR PRODUCTION NO.44:
              6        Medical literature, papers, podium presentations, poster presentations, research,
              7        texts, treatises, or other similar DOCUMENTS,regardless ofwhether published
                       or peer reviewed,received or generated by or on YOUR behalfRELATING TO
              8        the integrity, wear-rate, micromotion, corroding, fretting, or fracturing of
                       PROFEMUR CoCr MODULAR NECKS,regardless ofthe exact language used,
              9        and regardless of whether it specifically addresses a WRIGHT or MICROPORT
             10        device.

             11        RESPONSE TO REQUEST FOR PRODUCTION NO.44:
                       The general objections above are incorporated by reference as though fully set
a       .~   12        forth herein. Wright Medical objects to this Request on the grounds that it seeks
    3   ., 13          information neither relevant to the subject matter of this litigation nor
    ~ U                proportional to the needs of the case because it seeks documents concerning a
a ~ ~ 14               failure mode(corrosion)and products which Plaintiff did not receive and which
                       are not at issue in this case, and products which were not even designed,
w ~~o ~,
      x~
         15            developed, manufactured, or sold by Wright Medical. Wright Medical further
w                      objects to the extent the Request seeks documents authored and maintained by a
i ca 16
                       party over whom Wright Medical has no control. Subject to, and without waiver
             17        of, the foregoing objections, upon the entry ofa stipulated confidentiality order,
                       Wright Medical responds that it will produce the device development file and
             18        post-market surveillance reports for the modular neck component which Plaintiff
                       received and is at issue in this case.
             19
                       REQUEST FOR PRODUCTION NO.45:
             20        All DOCUMENTS which RELATE TO COMMUNICATIONS between YOU
             21        and any surgeon RELATING TO or discussing in any way the integrity, wear-
                       rate, micromotion, fretting, fretting corrosion, fracture or breakage of the
             22        PROFEMUR Ti6A14V MODULAR NECKS, regardless of whether that
                       communication involved the personal experience ofthe surgeon with a patient.
             23
             24        RESPONSE TO REQUEST FOR PRODUCTION NO.45:
                       The general objections above are incorporated by reference as though fully set
             25        forth herein. Wright Medical objects to this Request on the grounds that it seeks
                       information neither relevant to the subject matter of this litigation nor
             26        proportional to the needs of the case because it seeks documents, for an
                       unlimited period oftime, concerning a failure mode (corrosion) and numerous
             27        hip implant components comprised ofa different material which Plaintiffdid not
             28        receive and which are not at issue in this case. Moreover, this Request seeks

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                                           PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                     communications concerning other patients, surgeons and product failures, all of
                     which have no relevance to the claims asserted by Plaintiff in this case. Subject
           2         to,and without waiver of,the foregoing objections, upon the entry ofa stipulated
           3         confidentiality order, Wright Medical will produce responsive documents for
                     fracture complaints ofthe modular neck component which Plaintiffreceived and
           4         is at issue in this case, including Plaintiffs complaint file, which may contain
                     information responsive to this Request as it pertains to Plaintiffand the modular
           5         neck component she received.
           6         REQUEST FOR PRODUCTION NO.46:
           7         All DOCUMENTS which RELATE TO COMMUNICATIONS between YOU
                     and any surgeon RELATING TO or discussing in any way the integrity, wear-
           8         rate, micromotion, fretting, fretting corrosion, fracture or breakage of the
                     PROFElVIUR CoCr MODULAR NECK component, regardless of whether that
           9         communication involved the personal experience ofthe surgeon with a patient.
          10
                     RESPONSE TO REQUEST FOR PRODUCTION NO.46:
          11         The general objections above are incorporated by reference as though fully set
                     forth herein. Wright Medical objects to this Request on the grounds that it seeks
a         12         information neither relevant to the subject matter of this litigation nor
    3 w              proportional to the needs of the case because it seeks documents, for an
    a.~, 13          unlimited period of time, concerning a failure mode (corrosion) and numerous
    ~ U
a ~~,
    ,.-   14         hip implant components which Plaintiff did not receive and which are not at
                     issue in this case. Moreover, this Request seeks communications concerning
w ~o ~~ 15           other patients, surgeons and product failures, all of which have no relevance to
    '
w'                   the claims asserted by Plaintiffin this case. Subject to, and without waiver of, the
i    w    16         foregoing objections, upon the entry ofa stipulated confidentiality order, Wright
          17         Medical will produce responsive documents for fracture complaints of the
                     modular neck component which Plaintiff received and is at issue in this case,
          18         including Plaintiffs complaint file, which may contain information responsive to
                     this Request as it pertains to Plaintiff and the modular neck component she
          19         received.
          20         REQUEST FOR PRODUCTION NO.49:
          21         All published or presented material wherein a patient or recipient ofa WRIGHT
                     artificial hip with a TITANIUM or CoCr PROFEMUR MODULAR NECK
          22         speaks, promotes, or advocates on behalfofany WRIGHT artificial hip implant
                     product, including, without limitation, any video footage of same.
          23
          24         RESPONSE TO REQUEST FOR PRODUCTION NO.49:
                     The general objections above are incorporated by reference as though fully set
          25         forth herein. Wright Medical objects to this Request on grounds it seeks
                     documents which neither Plaintiff nor her treating physicians reviewed or relied
          26         upon. Wright Medical further objects to this Request on the grounds that it seeks
                     information neither relevant to the subject matter of this litigation nor
          27         proportional to the needs of the case because it seeks documents, for an
          281        unlimited period oftime,concerning any and all hip products-some ofwhich are

                JOINT STIPULATION RE: PLAINTIFFS' MOTION TO COMPEL FURTHER DISCOVERY RESPONSES AND
                                          PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                    comprised of a different material-which Plaintiff did not receive and which are
                    not at issue in this case. Read literally, this Request seeks any and all materials,
           2        relating in any way to the promotion of over thirty hip implant components
           3        without any geographic or temporal limitations. Wright Medical further objects
                    that the terms "published or presented material" are vague, ambiguous and
           4        undefined within the context ofthis Request. Subject to, and without waiver of,
                    the foregoing objections, Wright Medical responds that it will produce marketing
           5        materials for the PRO FEMURS modular neck component which Plaintiff
                    received.
           6
           7        REQUEST FOR PRODUCTION NO. 52:
                    All COMMUNICATION, including but not limited to emails and letter
           8        correspondence, between YOU and Dr. Jason Snibbe regarding PROFEMUR
                    MODULAR NECKS from 2000 to the present.
           9
          10        RESPONSE TO REQUEST FOR PRODUCTION NO. 52:
                    The general objections above are incorporated by reference as though fully set
          11        forth herein. Wright Medical objects to this Request on the grounds it seeks
                    documents neither relevant to the subject matter of this litigation nor
a         12        proportional to the needs of the case because it seeks documents concerning
    3 w
    .,              products-some ofwhich are comprised ofa different material-which Plaintiffdid
3 ~ ~ 13
    ~ U             not receive and which are not at issue in this case. Moreover,this Request seeks
                    communications concerning other product failures concerning different patients
  ~= 14             with unique component configurations and differing medical conditions and
w ~o x,, 15         circumstances, all of which have no relevance to the claims asserted by Plaintiff
w                   in this case. Wright Medical further objects to the extent the Request seeks
     w    16        documents authored and maintained by a party over whom Wright Medical has
          17        no control. Subject to, and without waiver of,the foregoing objections, upon the
                    entry of a stipulated confidentiality order, Wright Medical responds that it will
          18        produce responsive documents, including, but not limited to, correspondence
                    with Dr. Snibbe regarding the modular neck component which Plaintiffreceived
          19        and is at issue in this case, and Plaintiffs complaint file, which contain
                    information responsive to this Request as it pertains to Plaintiffand the modular
          20        neck component she received.
          21
                    REQUEST FOR PRODUCTION NO. 55:
          22        All DOCUMENTS in YOUR possession RELATING TO WRIGHT'S,
                    Cremascoli's, or NIICROPORT'S failure mode analysis ofthe Ti6A14V NECK
          23        or CoCr NECK, including but not limited to any conclusions formulated or
          24        reached as a result of said investigation or analysis.

          25        RESPONSE TO REQUEST FOR PRODUCTION NO. 55:
                    The general objections above are incorporated by reference as though fully set
          26        forth herein. Wright Medical objects to the extent the Request seeks documents
                    authored and maintained by a party over whom Wright Medical has no control.
          27        Wright Medical further objects to this Request on the grounds that it seeks
          28        information neither relevant to the subject matter of this litigation nor

               JOINT STIPULATION RE: PLAINTIFFS' MOTION TO COMPEL FURTHER DISCOVERY RESPONSES AND
                                         PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                        proportional to the needs of the case because it seeks documents, for an
                        unlimited period oftime,concerning products —some ofwhich are comprised of
               2        a different material —which Plaintiff did not receive and which are not at issue in
               3        this case. Wright Medical further objects that the term "failure mode analysis" is
                        vague, ambiguous and undefined within the context ofthis Request. Subject to,
               4        and without waiver of, the foregoing objections, upon the entry of a stipulated
                        confidentiality order, Wright Medical responds that it will produce the device
               5        development file and risk assessment and analysis forms for the PRO FEMUR
                        modular neck component at issue, which may include information responsive to
               6        this Request.
               7
                        REQUEST FOR PRODUCTION NO. 56:
               8        All DOCUMENTS in YOUR possession RELATING TO WRIGHT'S,
                        Cremascoli's, or NIICROPORT'S failure mode analysis of the PROFEMUR
               9        DEVICE and/or its predecessor device, including but not limited to any
              10        conclusions formulated or reached as a result of said investigation or analysis.

              11        RESPONSE TO REQUEST FOR PRODUCTION NO. 56:
                        The general objections above are incorporated by reference as though fully set
a             12        forth herein. Wright Medical objects to the extent the Request seeks documents
a    3                  authored and maintained by a party over whom Wright Medical has no control.
  a ..,
     ~ 13               Wright Medical further objects to this Request on the grounds that it seeks
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                        information neither relevant to the subject matter of this litigation nor
a ~, ~' 14
                        proportional to the needs of the case because it seeks documents, for an
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r^
     Y                  unlimited period oftime,concerning products — some ofwhich are comprised of
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W                       a different material —which Plaintiff did not receive and which are not at issue in
         ca   16        this case. Wright Medical further objects that the terms "failure mode analysis"
              17        and "predecessor device" are vague,ambiguous and undefined within the context
                        ofthis Request. Subject to, and without waiver of,the foregoing objections, upon
              18        the entry of a stipulated confidentiality order, Wright Medical responds that it
                        will produce the device development file and risk assessment and analysis forms
              19        for the PROFEMUR~ modular neck component at issue, which may include
                        information responsive to this Request.
              20
              21        REQUEST FOR PRODUCTION NO. 58:
                        Produce a copy of all DOCUMENTS provided to YOUR employees and
              22        marketing, distribution, and sales personnel, on how to educate, inform, and
                        notify surgeons and other users or purchasers of the PROFEMUR DEVICE,
              23        including but not limited to technical monographs, surgical technique guides,
              24        frequently asked questions brochures, and other DOCUMENTS that reflect,
                        address, discuss or reference regulatory issues, concerns, problems or
              25        requirements related to PROFEMiJR DEVICE.
              26        RESPONSE TO REQUEST FOR PRODUCTION NO. 58:
                        The general objections above are incorporated by reference as though fully set
              27        forth herein. Wright Medical objects to this Request on the grounds that it seeks
              28        information neither relevant to the subject matter of this litigation nor

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                                             PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                  proportional to the needs of the case because it seeks documents, for an
                  unlimited period oftime,concerning products-some ofwhich are comprised ofa
         2        different material-which Plaintiff did not receive and which are not at issue in
         3        this case. Wright Medical further objects that the terms "other users or
                  purchasers" and "regulatory issues, concerns, problems or requirements" are
         4        vague, ambiguous and undefined within the context ofthis Request. Subject to,
                  and without waiver of,the foregoing objections, Wright Medical responds that it
         5        will produce the IFUs, surgical technique, technical monographs, and other
                  marketing materials for the PRO FEMURS neck component at issue in this case.
         6
         7        REQUEST FOR PRODUCTION NO.63:
                 Produce any DOCUMENTS where WRIGHT compares any aspects, properties,
         8        performance, characteristic, or safety of the CoCr NECK to any other
                 PROFEMUR DEVICE, including those manufactured using a titanium
         9       (Ti6A14V)alloy.
        10
                  RESPONSE TO REQUEST FOR PRODUCTION NO.63:
        11        The general objections above are incorporated by reference as though fully set
                  forth herein. Wright Medical objects to this Request on the grounds that it seeks
        12        information neither relevant to the subject matter of this litigation nor
  3 w . 13        proportional to the needs of the case because it seeks documents, for an
  a. ~            unlimited period oftime,concerning products-some ofwhich are comprised ofa
  ~~
a ~ ~ 14          different material —which Plaintiff did not receive and which are not at issue in
                  this case. Wright Medical further objects that the terms "aspects, properties,
w ~o x~ 15        performance, characteristic, or safety" are vague, ambiguous and undefined
wQ                within the context of this Request. Subject to, and without waiver of, the
i       16        foregoing objections, upon the entry ofa stipulated confidentiality order, Wright
        17        Medical responds that it will produce the device development file, testing and
                  engineering reports, and post-market surveillance reports for the PRO FEMUR
        18        modular neck component which Plaintiff received, which may contain
                  information responsive to this Request.
        19
                        2.     Defendant MicroPort Orthopedics,Inc.
        20
                  REQUEST FOR PRODUCTION NO. 1:
        21        All DOCUMENTS which RELATE TO COMMUNICATIONS YOU sent to or
        22        received from the U.S. Food and Drug Administration("FDA")concerning the
                  PROFEMUR DEVICE with the CoCr NECK,including but not limited to the
        23        FDA regulatory file and any supplementation, addition, amendment to same.
        24
        25        RESPONSE TO REQUEST FOR PRODUCTION NO. 1:
                  The general objections above are incorporated by reference as though fully set
        26        forth herein. MicroPort objects to this Request on the grounds that it seeks
                  information neither relevant to the subject matter of this litigation nor
        27        proportional to the needs ofthe case. Specifically, this Request seeks documents,
                  for an unlimited period oftime, which pertain to products which Plaintiffdid not
        28
             JOINT STIPULATION RE: PLAINTIFFS' MOTION TO COMPEL FURTHER DISCOVERY RESPONSES AND
                                       PRODUCTION OF DOCiJMENTS [L.R. 37-2]
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                     receive and which are not at issue in this case. MicroPort further objects to the
                     extent that the Request calls for documents that are publicly available, equally
           2         available from another party, and/or are outside MicroPort's possession, custody
           3         or control. Subject to, and without waiver of,the foregoing objections, upon the
                     entry of a stipulated confidentiality order, MicroPort responds that it will
           4         produce responsive, non-privileged communications in its custody or control
                     with the FDA concerning the specific device implanted in Plaintiff, and
           5         generally concerning the PROFEMLTR~ CoCr modular neck, model PHAC-
                     1254, if any.
           6
           7         REQUEST FOR PRODUCTION NO.2:
                     All DOCUMENTS which RELATE TO COMMUNICATIONS YOU sent to or
           8         received from the FDA concerning the PROFEMLTR DEVICE with the
                     Ti6A14V NECK,including but not limited to the FDA regulatory file and any
           9         supplementation, addition, amendment to same.
          10
                     RESPONSE TO REQUEST FOR PRODUCTION NO. 2:
          11         The general objections above are incorporated by reference as though fully set
                     forth herein. MicroPort objects to this Request on the grounds that it seeks
a         12         information neither relevant to the subject matter of this litigation nor
    3 w
     . 13            proportional to the needs ofthe case. Specifically, this Request seeks documents,
    ~.
     ~               for an unlimited period oftime, which pertain to products which Plaintiffdid not
    ~ U
a ~, ~' 14           receive, are comprised of a different material, and which are not at issue in this
                     case. Subject to, and without waiver of,the foregoing objections, upon the entry
w ~o~ z
      ~ 15
      ~,             of a stipulated confidentiality order, MicroPort responds that it will produce
w                    responsive, non-privileged communications in its custody or control with the
     ~o   16         FDA concerning the specific device implanted in Plaintiff, and generally
          17         concerning the PROFEMLJR~ CoCr modular neck, model PHAG 1254, if any.

          18         REQUEST FOR PRODUCTION NO. 3:
                     All DOCUMENTS which RELATE TO any meetings YOU had with the FDA
          19         RELATING to the PROFEMLJR DEVICE with the CoCr NECK,including but
                     not limited to the FDA regulatory file and any supplementation, addition,
          20         amendment to same.
          21
                     RESPONSE TO REQUEST FOR PRODUCTION NO. 3:
          22,        The general objections above are incorporated by reference as though fully set
                     forth herein. MicroPort objects to this Request on the grounds that it seeks
          23         information neither relevant to the subject matter of this litigation nor
          24         proportional to the needs ofthe case. Specifically, this Request seeks documents,
                     for an unlimited period of time, relating to any and all communications
          25         regardless of the substance, which pertain to products which Plaintiff did not
                     receive and which are not at issue in this case. Read literally this Request seeks
          26         any and all documents related to the FDA,having any arguable connection to the
                     products at issue in this case, regardless as to whether the communication has
          27         anything to do with the allegations and theories of defect pled in the Complaint.
          28         MicroPort further objects to the extent that the Request calls for documents that

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                                          PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                     are publicly available, equally available from another party, and/or are outside
                     MicroPort's possession, custody or control. Subject to, and without waiver of,
            2        the foregoing objections, upon the entry of a stipulated confidentiality order,
            3        MicroPort responds that it will produce responsive, non-privileged documents in
                     its custody or control sufficient to show the substance of meetings with the FDA
            4        concerning the specific device implanted in Plaintiff, and generally concerning
                     the PROFEMLTR~ CoCr modular neck, model PHAC-1254, if any.
            5
                     REQUEST FOR PRODUCTION NO. 4:
            6        All DOCUMENTS which RELATE TO any meetings YOU had with the FDA
            7        RELATING to the PROFEMUR DEVICE with the Ti6A14V NECK,including
                     but not limited to the FDA regulatory file and any supplementation, addition,
            8        amendment to same.
            9        RESPONSE TO REQUEST FOR PRODUCTION NO.4:
           10               The general objections above are incorporated by reference as though fully
                     set forth herein. MicroPort objects to this Request on the grounds that it seeks
           11        information neither relevant to the subject matter of this litigation nor
                     proportional to the needs ofthe case. Specifically, this Request seeks documents,
a~         12        for an unlimited period of time, which pertain to products comprised of a
a
a    3 w             different material which Plaintiff did not receive and which are not at issue in
     ~.
      ~, 13          this case. Read literally, this Request seeks any and all documents related to the
     ~ U
Q                    FDA,having any arguable connection to products not even received by Plaintiff,
a ~, ~' 14
a ~~                 regardless as to whether the communication has anything to do with the
w o ~ 15
'^
     Y               allegations and theories ofdefect pled in the Complaint. Subject to, and without
VI

W
i a~ 16              waiver of,the foregoing objections, upon the entry ofa stipulated confidentiality
                     order, MicroPort responds that it will produce responsive, non-privileged
           17        documents in its custody or control sufficient to show the substance of meetings
                     with the FDA concerning the specific device implanted in Plaintiff, and
           18        generally concerning the PROFEMUR~ CoCr modular neck, model PHAC-
                     1254, if any.
           19
                     REQUEST FOR PRODUCTION NO. 5:
           20        All DOCUMENTS which RELATE TO any COMMUNICATIONS between
           21        YOU and any entity, including but not limited to the FDA or WRIGHT from
                     2009 to present concerning a potential or actual recall of the CoCr NECK,
           22        including, but not limited to, minutes of meetings in which a recall was
                     discussed.
           23
           24        RESPONSE TO REQUEST FOR PRODUCTION NO. 5:
                     The general objections above are incorporated by reference as though fully set
           25        forth herein. MicroPort objects to the extent that the Request calls for documents
                     that are publicly available, equally available from another party, and/ or are
           26        outside MicroPort's possession, custody or control. MicroPort further objects to
                     this Request on the grounds that it seeks information neither relevant to the
           27        subject matter ofthis litigation nor proportional to the needs ofthe case because
           28        it seeks documents, for an unlimited period of time, which pertain to products

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                      which Plaintiffdid not receive and which are not at issue in this case. Subject to,
                      and without waiver of, the foregoing objections, upon the entry of a stipulated
             2        confidentiality order, MicroPort responds that it will produce responsive, non-
             3        privilegeddocuments in its custody or control MICROPORT ORTHOPEDICS,
                      INC.'S OBJECTIONS AND RESPONSES TO PLAINTIFF CATHERINE
             4        PRAYER'S REQUESTS FOR PRODUCTION OF DOCUMENTS AND
                      THINGS (SET ONE) sufficient to show MicroPort's decision to recall the
             5        PROFEMUR~ CoCr modular neck, model PHAC-1254, if any.
             6        REQUEST FOR PRODUCTION NO.6:
             7
                      All DOCUMENTS which RELATE TO COMMUNICATIONS between YOU
             8        and any entity, including but not limited to the FDA or WRIGHT from 2000 to
                      the present concerning a potential recall ofthe Ti6A14V NECK,including, but
             9        not limited to, minutes of meetings in which a potential recall was discussed.
            10
                      RESPONSE TO REQUEST FOR PRODUCTION NO.6:
            11        The general objections above are incorporated by reference as though fully set
                      forth herein. MicroPort objects to this Request on the grounds that it seeks
a           12        information neither relevant to the subject matter of this litigation nor
     3 w              proportional to the needs ofthe case. Specifically, this Request seeks documents,
    .a ._   13        for an unlimited period of time, which pertain to products comprised of a
    ~ U
a ~~,~ 14             different material which Plaintiff did not receive and which are not at issue in
                      this case. MicroPort further objects to the extent that the Request calls for
w o x 15              documents that are publicly available, equally available from another party,
    `'
w                     and/or are outside MicroPort's possession, custody or control. Subject to, and
       m    16        without waiver of, the foregoing objections, upon the entry of a stipulated
            17        confidentiality order, MicroPort responds that it will produce responsive, non-
                      privileged documents in its custody or control sufficient to show MicroPort's
            18        decision to recall the PROFEMUR~ CoCr modular neck, model PHAC-1254,if
                      any.
            19
                      REQUEST FOR PRODUCTION NO. 7:
            20        All DOCUMENTS which RELATE TO reports ofimplant failures RELATING
            21        TO the PROFEMUR DEVICE with the CoCr NECK.

            22       RESPONSE TO REQUEST FOR PRODUCTION NO. 7:
                            The general objections above are incorporated by reference as though fully
            23       set forth herein. MicroPort objects to this Request as overbroad and
            24       disproportionate to the needs ofthis case because it seeks documents concerning
                     other product failures involving different patients with different product
            25       configurations, treated by different physicians and surgeons, with differing
                     medical conditions and circumstances, all of which have no relevance to the
            26       claims asserted by Plaintiff in this case. MicroPort further objects that the term
                     "implant failures" is vague, ambiguous and undefined within the context ofthis
            27       Request and could include instances having nothing to do with the allegations or
            28       theories at issue in this matter. MicroPort further objects to this Request to the

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                    extent it seeks information and documents, for an unlimited period of time,
                    which pertain to reports of "implant failures" concerning products which
           2        Plaintiff did not receive and which are not at issue in this case. MicroPort further
           3        objects to the extent that the Request calls for documents that are publicly
                    available, equally available from another party, and/or are outside MicroPort's
           4        possession, custody or control. Subject to, and without waiver of, the foregoing
                    objections, upon the entry of a stipulated confidentiality order, MicroPort
           5        responds that it will produce responsive documents for fracture complaints ofthe
                    modular neck component which Plaintiff received and is at issue in this case,
           6        including Plaintiffs complaint file, which contain information responsive to this
           7        Request as it pertains to Plaintiffand the modular neck component she received.

           8        REQUEST FOR PRODUCTION NO. 8:
                    Any DOCUMENTS which RELATE TO written communication regarding
           9        implant failures, including but not limited to fracture and corrosion-related
          10        failures, of the PROFEMUR CoCr Neck.

          11        RESPONSE TO REQUEST FOR PRODUCTION NO. 8:
                           The general objections above are incorporated by reference as though fully
a         12        set forth herein. MicroPort objects to this Request as overbroad and
    3.
     w
     .              disproportionate to the needs ofthis case because it seeks documents concerning
          13        a failure mode (corrosion) and products that are not at issue in this case.
    ~ U
    ~ ~ 14          MicroPort further objects on grounds this Request seeks documents concerning
                    other product failures involving different patients with different product
w ~0~ '~
      x
      '" 15         configurations, treated by different physicians and surgeons, with differing
w                   medical conditions and circumstances, all of which have no relevance to the
i as 16
                    claims asserted by Plaintiff in this case. MicroPort further objects that the term
          17        "implant failures" is vague, ambiguous and undefined within the context ofthis
                    Request and could include instances having nothing to do with the allegations or
          18        theories at issue in this matter. MicroPort further objects to the extent that the
                    Request calls for documents that are publicly available, equally available from
          19        another party, and/or are outside MicroPort's possession, custody or control.
                    Subject to, and without waiver of, the foregoing objections, upon the entry of a
          20        stipulated confidentiality order, MicroPort responds that it will produce
          21        responsive documents for fracture complaints of the modular neck component
                    which Plaintiff received and is at issue in this case, including Plaintiffs
          22        complaint file, which contain information responsive to this Request as it
                    pertains to Plaintiff and the modular neck component she received.
          23
          24        REQUEST FOR PRODUCTION NO. 10:
                    All promotional and marketing materials YOU drafted, approved, published, or
          25        distributed concerning the PROFEMUR DEVICE,including, but not limited to,
                    drafts of such promotional and marketing materials.
          26
                    RESPONSE TO REQUEST FOR PRODUCTION NO. 10:
          27        The general objections above are incorporated by reference as though fully set
          28        forth herein. MicroPort objects to this Request on the grounds that it seeks

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                    information neither relevant to the subject matter of this litigation nor
                    proportional to the needs ofthe case. Specifically, this Request seeks documents,
           2        for the lifespan ofthe PROFEMUR~ product line, which extends over 30 years
           3        and includes products which Plaintiff did not receive and which are not at issue
                    in this case. Moreover,MicroPort objects on the grounds that this Request seeks
           4        documents which neither Plaintiff nor her treating physicians reviewed or relied
                    upon. MicroPort further objects to the extent that the Request calls for
           5        documents that are publicly available, equally available from another party,
                    and/or are outside MicroPort's possession, custody or control. Subject to, and
           6        without waiver of, the foregoing objections, MicroPort responds that it will
           7        produce responsive, non-privileged documents in its custody or control
                    demonstrating marketing of the PROFEMUR~ CoCr modular neck, model
           8        PHAC-1254, if any.
           9        REQUEST FOR PRODUCTION NO. 12:
          10        All DOCUMENTS which RELATE TO PATIENT or physician complaints
                    reported to YOU or WRIGHT concerning the PROFEMUR DEVICE.
          11
                    RESPONSE TO REQUEST FOR PRODUCTION NO. 12:
a         12        The general objections above are incorporated by reference as though fully set
a   30
    ._              forth herein. MicroPort objects to the extent that the Request calls for documents
3 ~ ~ 13
    ~ U             that are publicly available, equally available from another party, and/or are
a ~, ~' 14          outside MicroPort's possession, custody or control. MicroPort further objects to
                    this Request on the grounds that it seeks information neither relevant to the
w ~~ x'~ 15         subject matter ofthis litigation nor proportional to the needs ofthe case because
 '  '
w                   it seeks documents,for an unlimited period oftime, which pertain to"PATIENT
     as   16        or physician complaints" concerning products which Plaintiffdid not receive and
          17        which are not at issue in this case. Moreover, this Request seeks documents
                    concerning other product complaints concerning different patients with different
          18        product configurations, treated by different physicians and surgeons, with
                    differing medical conditions and circumstances, all of which have no relevance
          19        to the claims asserted by Plaintiffin this case. Subject to, and without waiver of,
                    the foregoing objections, upon the entry of a stipulated confidentiality order,
          20        MicroPort responds that it will produce responsive documents for fracture
          21        complaints of the modular neck component which Plaintiff received and is at
                    issue in this case, including Plaintiffs complaint file, which contain information
          22        responsive to this Request as it pertains to Plaintiff and the modular neck
                    component she received.
          23
          24        REQUEST FOR PRODUCTION NO. 14:
                    All DOCUMENTS which RELATE TO reports of adverse events or implant
          25        failures concerning the PROFEMLJR DEVICE.
          26        RESPONSE TO REQUEST FOR PRODUCTION NO. 14:
                    The general objections above are incorporated by reference as though fully set
          27        forth herein. MicroPort objects to this Request on the grounds that it seeks
          28        information neither relevant to the subject matter of this litigation nor

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                                         PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                   proportional to the needs of the case because it seeks documents, for an
                   unlimited period oftime, which pertain to "reports ofadverse events or implant
          2        failures" concerning products which Plaintiff did not receive and which are not
          3        at issue in this case. Moreover, this Request seeks documents concerning other
                   adverse events and/or implant failures concerning different patients with
          4        different product configurations, treated by different physicians and surgeons,
                   with differing medical conditions and circumstances, all of which have no
          5        relevance to the claims asserted by Plaintiff in this case. MicroPort further
                   objects that the terms "adverse events" and "implant failures" are vague,
          6        ambiguous and undefined within the context of this Request and could include
          7        instances having nothing to do with the allegations or theories at issue in this
                   matter. Subject to, and without waiver of, the foregoing objections, upon the
          8        entry of a stipulated confidentiality order, MicroPort will produce responsive
                   documents for fracture complaints of the modular neck component which
          9        Plaintiff received and is at issue in this case, including Plaintiffs complaint file,
         10        which contain information responsive to this Request as it pertains to Plaintiff
                   and the modular neck component she received.
         11
                   REQUEST FOR PRODUCTION NO. 15:
a       12
a 3 .,             All product labels, package inserts, or Instructions for Use ("IFU") that YOU
3a      13         drafted, approved, published or distributed concerning the PROFEMCTR
  ~ U
  ~, ~' 14         DEVICE.
w o ~~ 15
  ~
                   RESPONSE TO REQUEST FOR PRODUCTION NO. 15:
w                  The general objections above are incorporated by reference as though fully set
    as   16        forth herein. MicroPort objects to this Request on the grounds that it seeks
         17        information neither relevant to the subject matter of this litigation nor
                   proportional to the needs of the case because it seeks documents, for an
         18        unlimited period oftime,concerning products which Plaintiffdid not receive and
                   which are not at issue in this case. Moreover, this Request is overbroad as it
         19        seeks versions and variations oflabels and documents not received or reviewed
                   by Plaintiffs surgeon. Subject to, and without waiver of, the foregoing
         20        objections, MicroPort responds that it will produce responsive, non-privileged
         21        product labels, package inserts, and Instructions for Use for the PROFEMUR~
                   CoCr modular neck, model PHAC- 1254, if any.
         22
                   REQUEST FOR PRODUCTION NO. 16:
         23        All DOCUMENTS sufficient to show the warnings YOU provided to
         24        PATIENTS or their implanting surgeons concerning the risks of the
                   PROFEMUR DEVICE with the CoCr NECK.
         25
                   RESPONSE TO REQUEST FOR PRODUCTION NO. 16:
         26        The general objections above are incorporated by reference as though fully set
                   forth herein. MicroPort objects to this Request on the grounds that it seeks
         27        information neither relevant to the subject matter of this litigation nor
         28        proportional to the needs of the case because it seeks documents, for an

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                                        PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                   unlimited period oftime,concerning products which Plaintiffdid not receive and
                   which are not at issue in this case. Moreover, this Request seeks documents
        2          concerning different patients, product configurations, and surgeons which have
         3         no relevance to this matter. Subject to, and without waiver of, the foregoing
                   objections, MicroPort responds that it will produce responsive, non-privileged
        4          product labels, package inserts, and Instructions for Use for the PROFElVIUR~
                   CoCr modular neck, model PHAC- 1254, if any.
         5
                   REQUEST FOR PRODUCTION NO. 17:
        6          All DOCUMENTS which RELATE TO testing or studies YOU conducted
        7          RELATING TO the PROFEMUR DEVICE with the CoCr NECK.

        8          RESPONSE TO REQUEST FOR PRODUCTION NO. 17:
                   The general objections above are incorporated by reference as though fully set
        9          forth herein. MicroPort objects to this Request on the grounds that it seeks
       10          documents,for an unlimited period oftime,concerning products which Plaintiff
                   did not receive and which are not at issue in this case. Subject to, and without
       11          waiver of,the foregoing objections, upon the entry ofa stipulated confidentiality
                   order, MicroPort responds that it will produce responsive, non-privileged
a      12          documents in its custody or control including testing and/or studies conducted
  3 ...
    w              concerning the PROFEMUR~ CoCr modular neck, model PHAC- 1254,if any.
 .a     13
  ~~
  ~ ~ 14           REQUEST FOR PRODUCTION NO. 19:
    --
                   All summary databases or spreadsheets which track failures or complaints
w O >, 15          regarding the PROFEMUR DEVICE, including, but not limited to, any claims
  ¢ `'
w                  database or spreadsheet that identifies complaints regarding the PROFEMLTR
i      16          DEVICE by the following categories: incident number, date, product ID,
       17          product, lot number, incident description, and investigation summary.

       18          RESPONSE TO REQUEST FOR PRODUCTION NO. 19:
                   The general objections above are incorporated by reference as though fully set
       19          forth herein. MicroPort objects to this Request on the grounds that it seeks
                   information neither relevant to the subject matter of this litigation nor
       20          proportional to the needs of the case because it seeks documents, for an
       21          unlimited period of time, concerning a failure mode (corrosion) and products
                   which Plaintiff did not receive and which are not at issue in this case. Moreover,
       22          this Request seeks documents concerning other product failures and complaints
                   concerning different patients,treated by different physicians and surgeons, with
       23          unique component configurations and differing medical conditions and
       24 ~        circumstances, all of which have no relevance to the claims asserted by Plaintiff
                   in this case. Subject to, and without waiver of,the foregoing objections, upon the
       25          entry of a stipulated confidentiality order, MicroPort responds that it will
                   produce responsive documents for fracture complaints of the modular neck
       26          component which Plaintiff received and is at issue in this case.
       27          REQUEST FOR PRODUCTION NO. 20:
       28          All summary databases or spreadsheets, which identifies or tracks testing

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                                        PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                     performed on a PROFEMLTR DEVICE.
            2        RESPONSE TO REQUEST FOR PRODUCTION NO. 20:
            3        The general objections above are incorporated by reference as though fully set
                     forth herein. MicroPort objects to this Request on the grounds that it seeks
            4        information neither relevant to the subject matter of this litigation nor
                     proportional to the needs of the case because it seeks documents, for an
            5        unlimited period oftime,concerning products which Plaintiffdid not receive and
                     which are not at issue in this case. Subject to, and without waiver of, the
            6        foregoing objections, upon the entry of a stipulated confidentiality order,
            7        MicroPort responds that it will produce responsive,non- privileged documents in
                     its custody or control including testing and/or studies conducted concerning the
            8        PRO FEMURS CoCr modular neck, model PHAG 1254, if any.
            9        REQUEST FOR PRODUCTION NO.21:
           10        The design history file, design control file, or design dossier DOCUMENTS
                     RELATING TO the design and development of the PROFEMLJR NECKS in
           11        YOUR possession.
a          12        RESPONSE TO REQUEST FOR PRODUCTION NO. 21:
    3 .~
      w              The general objections above are incorporated by reference as though fully set
  a     13           forth herein. MicroPort objects to the extent that the Request calls for documents
  ~~
a ~~,~ 14            that are publicly available, equally available from another party, and/or are
                     outside MicroPort's possession, custody or control. MicroPort further objects to
w o s 15             this Request on the grounds that it seeks information neither relevant to the
w                    subject matter ofthis litigation nor proportional to the needs ofthe case because
     ~a 16           it seeks documents,for an unlimited period oftime, concerning products which
           17        Plaintiff did not receive and which are not at issue in this case. Subject to, and
                     without waiver of, the foregoing objections, MicroPort responds that it was not
           18        involved in the design and development of the PROFEMUR~ CoCr modular
                     neck component which Plaintiff received and is at issue in this case.
           19        Notwithstanding this fact, MicroPort further responds that the device
                     development file for the modular neck component which Plaintiffreceived will
           20        be produced in this case.
           21
                     REQUEST FOR PRODUCTION NO. 22:
           22        All DOCUMENTS,including but not limited to investigations, internal studies,
                     reports,PowerPoint presentations, or other similar material,that address failure
           23        rates) of all modular neck systems, the demographics of such failures, and
           24        projections of the number, percentage, or rate of future failures.

           25        RESPONSE TO REQUEST FOR PRODUCTION NO. 22:
                     The general objections above are incorporated by reference as though fully set
           26        forth herein. MicroPort objects to this Request on the grounds that it seeks
                     information neither relevant to the subject matter of this litigation nor
           27        proportional to the needs of the case because it seeks documents, for an
           28        unlimited period oftime, concerning products which Plaintiffdid not receive and

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                     which are not at issue in this case. Moreover, this Request seeks documents
                     concerning other product failures concerning different patients, treated by
            2        different physicians and surgeons, with unique component configurations and
            3        differing medical conditions and circumstances, all of which have no relevance
                     to the claims asserted by Plaintiff in this case. MicroPort further objects to the
            4        extent the Request seeks documents authored and maintained by a party over
                     whom MicroPort has no control. MicroPort further objects that the terms
            5        "investigations, internal studies, reports, PowerPoint presentations, or other
                     similar material" and "all modular neck systems" are vague, ambiguous and
            6        undefined within the context ofthis Request. Subject to, and without waiver of,
            7        the foregoing objections, upon the entry of a stipulated confidentiality order,
                     MicroPort responds that it will produce responsive documents for the modular
            8        neck component which Plaintiff received and is at issue in this case, including,
                     but not limited to, the responsive post-market surveillance reports for the
            9        modular neck component which Plaintiff received.
           10
                     REQUEST FOR PRODUCTION NO. 24:
           11        All DOCUMENTS and supporting data which reflect the total number, by
                     model, ofPROFEMUR CoCr NECKS distributed/sold/implanted worldwide on
a          12        an annual basis from 2009 to present.
    3 ..
    ~~     13        RESPONSE TO REQUEST FOR PRODUCTION NO. 24:
    ~ U
                     The general objections above are incorporated by reference as though fully set
  ~ ~ 14             forth herein. MicroPort objects on grounds that this Request seeks documents
w ~o xT 15           from a third party over whom MicroPort has no control. MicroPort further
w                    objects on the grounds that it no longer distributes or sells the PROFEMUR~
      w    16        CoCr neck component which Plaintiff received and is at issue in this case.
           17        MicroPort further objects to this Request on the grounds that it seeks information
                     neither relevant to the subject matter of this litigation nor proportional to the
           18        needs of the case because it seeks documents, for an unlimited period of time,
                     concerning products which Plaintiffdid not receive and which are not at issue in
           19        this case. Moreover,information concerning the number of"PROFEMUR CoCr
                     NECKS" MicroPort has "distributed sold/implanted worldwide" has no
           20        relevance to the product liability claims asserted by Plaintiff. Subject to, and
           21        without waiver of, the foregoing objections, upon the entry of a stipulated
                     confidentiality order, MicroPort will produce responsive documents for the
           22        modular neck component which Plaintiff received and is at issue in this case.
           23        REQUEST FOR PRODUCTION NO.26:
           24        All DOCUMENTS and supporting data which reflect the total number, by
                     model, ofPROFEMUR CoCr NECKS distributed/sold/implanteddomestically in
           25        the United States on an annual basis from 2009 to present.
           26        RESPONSE TO REQUEST FOR PRODUCTION NO. 26:
                     The general objections above are incorporated by reference as though fully set
           27        forth herein. MicroPort objects on grounds that this Request seeks documents
           28        from a third party over whom MicroPort has no control. MicroPort further

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                       objects on the grounds that it no longer distributes or sells the PROFEMUR~
                       CoCr neck component which Plaintiff received and is at issue in this case.
              2        MicroPort further objects to this Request on the grounds that it seeks information
              3        neither relevant to the subject matter of this litigation nor proportional to the
                       needs of the case because it seeks documents, for an unlimited period of time,
              4        concerning products which Plaintiff did not receive and which are not at issue in
                       this case. Moreover,information concerning the number of"PROFEMIJR CoCr
              5        NECKS" MicroPort has "distributed/sold/implanted domestically in the United
                       States" has no relevance to the product liability claims asserted by Plaintiff.
              6        Subject to, and without waiver of, the foregoing objections, upon the entry of a
              7        stipulated confidentiality order, MicroPort will produce responsive documents
                       for the modular neck component which Plaintiff received and is at issue in this
              8        case.
              9        REQUEST FOR PRODUCTION NO. 30:
             10        All data and DOCUMENTS which reflect the total number, by model, of CoCr
                       NECKS which were reported to YOU,WRIGHT,or Cremascoli as fractured in
             11        the United States from 2009 to present.
a            12        RESPONSE TO REQUEST FOR PRODUCTION NO. 30:
    3
    ~
    _ 13               The general objections above are incorporated by reference as though fully set
 .a                    forth herein. MicroPort objects to the extent the Request seeks documents
d ~ ~
  ~ ~ 14               authored and maintained by a party over whom MicroPort has no control.
  ~~                   MicroPort further objects to this Request on the grounds that it seeks information
  ~~
w ~
  0 ''
    " 15
    °                  neither relevant to the subject matter of this litigation nor proportional to the
w                      needs of the case because it seeks documents concerning multiple products
        oa   16        which Plaintiff did not receive and which are not at issue in this case. Moreover,
             17        this Request seeks documents concerning other product failures concerning
                       different patients, treated by different physicians and surgeons, with unique
             18        component configurations and differing medical conditions and circumstances,
                       all of which have no relevance to the claims asserted by Plaintiff in this case.
             19        Subject to, and without waiver of, the foregoing objections, upon the entry of a
                       stipulated confidentiality order, MicroPort responds that it will produce
             20        responsive documents for fracture complaints of the modular neck component
             21        which Plaintiff received and is at issue in this case.

             22        REQUEST FOR PRODUCTION NO. 32:
                       All data and DOCUMENTS which reflect the total number, by model, of CoCr
             23        NECKS which were reported to YOU, WRIGHT, or Cremascoli as fractured
             24        worldwide from 2009 to present.

             25        RESPONSE TO REQUEST FOR PRODUCTION NO. 32:
                       The general objections above are incorporated by reference as though fully set
             26        forth herein. MicroPort objects to the extent the Request seeks documents
                       authored and maintained by a party over whom MicroPort has no control.
             27        MicroPort further objects to this Request on the grounds that it seeks information
             28        neither relevant to the subject matter of this litigation nor proportional to the

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                    needs of the case because it seeks documents concerning multiple products
                    which Plaintiffdid not receive and which are not at issue in this case. Moreover,
           2        this Request seeks documents concerning other product failures concerning
           3        different patients, treated by different physicians and surgeons, with unique
                    component configurations and differing medical conditions and circumstances,
           4        all of which have no relevance to the claims asserted by Plaintiff in this case.
                    Subject to, and without waiver of, the foregoing objections, upon the entry of a
           5        stipulated confidentiality order, MicroPort responds that it will produce
                    responsive documents for fracture complaints of the modular neck component
           6        which Plaintiff received and is at issue in this case.
           7
                    REQUEST FOR PRODUCTION NO. 39:
           8        All COMMUNICATION, including but not limited to emails and letter
                    correspondence, between YOU and Dr. Jason Snibbe regarding PROFEMUR
           9        MODULAR NECKS from 2000 to the present.
          10
                    RESPONSE TO REQUEST FOR PRODUCTION NO. 39:
          11        The general objections above are incorporated by reference as though fully set
                    forth herein. MicroPort objects to the extent the Request seeks documents
a         12        authored and maintained by a party over whom MicroPort has no control.
a   30
     .
     .              MicroPort further objects to this Request on the grounds it seeks documents
          13        neither relevant to the subject matter of this litigation nor proportional to the
    ~ U
Q                   needs of the case because it seeks documents concerning products ❑some of
a ~, ~' 14
                    which are comprised ofa different material-which Plaintiff did not receive and
w ~~o z
      ~ 15
      ~,            which are not at issue in this case. Moreover,this Request seeks communications
w                   concerning other product failures concerning different patients with unique
i        16         component configurations and differing medical conditions and circumstances,
          17        all of which have no relevance to the claims asserted by Plaintiff in this case.
                    Subject to, and without waiver of, the foregoing objections, upon the entry of a
          18        stipulated confidentiality order, MicroPort responds that it will produce
                    responsive documents, including, but not limited to, correspondence with Dr.
          19        Snibbe regarding the modular neck component which Plaintiffreceived and is at
                    issue in this case, and Plaintiffs complaint file, which contain information
          20        responsive to this Request as it pertains to Plaintiff and the modular neck
          21        component she received.

          22        REQUEST FOR PRODUCTION NO.42:
                    All DOCUMENTS which RELATE TO COMMUNICATIONS between YOU
          23        and any implanting surgeon user discussing concerns related to corrosion and
          24        failure ofthe PROFEMUR DEVICE from 2000 to present.

          25        RESPONSE TO REQUEST FOR PRODUCTION NO.42:
                    The general objections above are incorporated by reference as though fully set
          26        forth herein. MicroPort objects on grounds that this Request seeks documents
                    concerning a failure mode (corrosion) not at issue in this case, which therefore
          27        have no relevance to the claims asserted by Plaintiff. MicroPort further objects to
          28        this Request on the grounds it is vastly overbroad and unduly burdensome in that

               JOINT STIPULATION RE: PLAINTIFFS' MOTION TO COMPEL FURTHER DISCOVERY RESPONSES AND
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                     it seeks any and all communications, regardless of source, for information
                     neither relevant to the subject matter of this litigation nor proportional to the
            2        needs of the case because it seeks documents concerning products-some of
            3        which are comprised of a different material-which Plaintiff did not receive and
                     which are not at issue in this case. Moreover,this Request seeks communications
            4        concerning other product failures concerning different patients, treated by
                     different physicians and surgeons, with unique component configurations and
            5        differing medical conditions and circumstances, all of which have no relevance
                     to the claims asserted by Plaintiff in this case. MicroPort further objects to the
            6        extent the Request seeks documents authored and maintained by a party over
            7        whom MicroPort has no control. Subject to, and without waiver of, the foregoing
                     objections, upon the entry of a stipulated confidentiality order, MicroPort
            8        responds that it will produce responsive documents for fracture complaints ofthe
                     modular neck component which Plaintiff received and is at issue in this case,
            9        including Plaintiffs complaint file, which contain information responsive to this
           10        Request as it pertains to Plaintiffand the modular neck component she received.

           11        REQUEST FOR PRODUCTION NO.43:
                     All DOCUMENTS which RELATE TO COMMUNICATIONS between YOU
a~         12        and any PERSON or entity, including but not limited to the FDA or WRIGHT,
     3               concerning complaints about fractured CoCr NECK fracture components from
  a .., 13           2009 to present.
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a ~ ~~; 14
                     RESPONSE TO REQUEST FOR PRODUCTION NO.43:
w ~o'
    z~ 15            The general objections above are incorporated by reference as though fully set
 '
w                    forth herein. MicroPort objects to this Request on the grounds it is vastly
i m 16
                     overbroad and unduly burdensome in that it seeks any and all communications,
           17        regardless ofsource or date,for information neither relevant to the subject matter
                     of this litigation nor proportional to the needs of the case because it seeks
           18        documents concerning products which Plaintiffdid not receive and which are not
                     at issue in this case. Moreover, this Request seeks communications concerning
           19        other product failures concerning different patients, treated by different
                     physicians and surgeons, with unique component configurations and differing
           20        medical conditions and circumstances, all of which have no relevance to the
           21        claims asserted by Plaintiff in this case. Subject to, and without waiver of, the
                     foregoing objections, upon the entry of a stipulated confidentiality order,
           22        MicroPort responds that it will produce responsive documents for fracture
                     complaints of the modular neck component which Plaintiff received and is at
           23        issue in this case, including Plaintiffs complaint file, which contain information
           24        responsive to this Request as it pertains to Plaintiff and the modular neck
                     component she received.
           25
                     REQUEST FOR PRODUCTION NO.44:
           26        All DOCUMENTS and COMMUNICATIONS in YOUR possession concerning
                     post-market surveillance ofthe PROFEMUR DEVICE from 2000 to present.
           27
           28
                JOINT STIPULATION RE: PLAINTIFFS' MOTION TO COMPEL FURTHER DISCOVERY RESPONSES AND
                                          PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                      RESPONSE TO REQUEST FOR PRODUCTION NO.44:
                      The general objections above are incorporated by reference as though fully set
             2        forth herein. MicroPort objects to the extent the Request seeks documents
             3        authored and maintained by a party over whom MicroPort has no control.
                      MicroPort further objects to this Request on the grounds that it seeks information
            !
            L         neither relevant to the subject matter of this litigation nor proportional to the
                      needs of the case because it seeks documents concerning products —some of
                      which are comprised ofa different material —which Plaintiff did not receive and
                      which are not at issue in this case. Subject to, and without waiver of, the
             6        foregoing objections, upon the entry of a stipulated confidentiality order,
             7        MicroPort responds that it will produce the post-market surveillance reports for
                      the modular neck component which Plaintiffreceived and is at issue in this case.
             8
                      REQUEST FOR PRODUCTION NO.45:
             9        Medical literature, papers, podium presentations, poster presentations, research,
            10        texts,treatises, or other similar DOCUMENTS,regardless ofwhether published
                      orpeer-reviewed, received or generated by or on YOUR behalffrom January 1,
            11        2000 to the present, RELATING TO the integrity, wear-rate, micromotion,
                      corroding, fretting, or fracturing of PROFEMUR Ti6A14V MODULAR
a~          12        NECKS, regardless of the exact language used, and regardless of whether it
a    3 .~
        w             specifically addresses a WRIGHT or MICROPORT device.
            13
     ~ U
a ~, ~' 14            RESPONSE TO REQUEST FOR PRODUCTION NO.45:
                      The general objections above are incorporated by reference as though fully set
w 0~ z 15             forth herein. MicroPort objects to this Request on the grounds that it seeks
     ''
w                     information neither relevant to the subject matter of this litigation nor
i as 16
                      proportional to the needs ofthe case because it seeks documents, pre-dating by
            17        nearly a decade the launch of the modular neck component at issue here,
                      concerning a failure mode (corrosion) and products comprised of a different
            18        material which Plaintiff did not receive and which are not at issue in this case,
                      and products which were not even designed, developed, manufactured, or sold
            19        by MicroPort. MicroPort further objects to the extent the Request seeks
                      documents authored and maintained by a party over whom MicroPort has no
            20        control. Subject to, and without waiver of, the foregoing objections, upon the
            21        entry of a stipulated confidentiality order, MicroPort responds that it will
                      produce the device development file and post-market surveillance reports for the
            22        modular neck component which Plaintiff received and is at issue in this case.
            23        REQUEST FOR PRODUCTION NO.46:
            24        Medical literature, papers, podium presentations, poster presentations, research,
                      texts,treatises, or other similar DOCUMENTS,regardless ofwhether published
            25        orpeer-reviewed,received or generated by or on YOUR behalfRELATING TO
                      the integrity, wear-rate, micromotion, corroding, fretting, or fracturing of
            26        PROFEMUR CoCr MODULAR NECKS,regardless ofthe exact language used,
                      and regardless of whether it specifically addresses a WRIGHT or MICROPORT
            27        device.
            28
                 JOINT STIPULATION RE: PLAINTIFFS' MOTION TO CONII'EL FURTHER DISCOVERY RESPONSES AND
                                           PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                       RESPONSE TO REQUEST FOR PRODUCTION NO.46:
                       The general objections above are incorporated by reference as though fully set
              2        forth herein. MicroPort objects to this Request on the grounds that it seeks
              3        information neither relevant to the subject matter of this litigation nor
                       proportional to the needs of the case because it seeks documents concerning a
              4        failure mode(corrosion)and products which Plaintiffdid not receive and which
                       are not at issue in this case, and products which were not even designed,
              5        developed, manufactured, or sold by MicroPort. MicroPort further objects to the
                       extent the Request seeks documents authored and maintained by a party over
              6        whom MicroPort has no control. Subject to, and without waiver of,the foregoing
              7        objections, upon the entry of a stipulated confidentiality order, MicroPort
                       responds that it will produce the device development file and post-market
              8        surveillance reports for the modular neck component which Plaintiff received
                       and is at issue in this case.
              9
             10        REQUEST FOR PRODUCTION NO.47:
                       All DOCUMENTS which RELATE TO COMMUNICATIONS between YOU
             11        and any surgeon RELATING TO or discussing in any way the integrity, wear-
                       rate, micromotion, fretting, fretting corrosion, fracture or breakage of the
a            12        PROFEMUR Ti6A14V MODULAR NECKS, regardless of whether that
    3
    ~ _ 13             communication involved the personal experience ofthe surgeon with a patient.
  ~~~~ 14
a ~                    RESPONSE TO REQUEST FOR PRODUCTION NO.47:
a ~~                   The general objections above are incorporated by reference as though fully set
w ~o ~
     ~ 15
     ~,                forth herein. MicroPort objects to this Request on the grounds that it seeks
w                      information neither relevant to the subject matter of this litigation nor
        as   16        proportional to the needs of the case because it seeks documents, for an
             17        unlimited period oftime, concerning a failure mode (corrosion) and numerous
                       hip implant components comprised ofa different material which Plaintiffdid not
             18        receive and which are not at issue in this case. Moreover, this Request seeks
                       communications concerning other patients, surgeons and product failures, all of
             19        which have no relevance to the claims asserted by Plaintiff in this case. Subject
                       to, and without waiver of,the foregoing objections, upon the entry ofa stipulated
             20        confidentiality order, MicroPort will produce responsive documents for fracture
             21        complaints of the modular neck component which Plaintiff received and is at
                       issue in this case, including Plaintiffs complaint file, which may contain
             22        information responsive to this Request as it pertains to Plaintiffand the modular
                       neck component she received.
             23
             24        REQUEST FOR PRODUCTION NO.48:
                       All DOCUMENTS which RELATE TO COMMUNICATIONS between YOU
             25        and any surgeon RELATING TO or discussing in any way the integrity, wear-
                       rate, micromotion, fretting, fretting corrosion, fracture or breakage of the
             26        PROFEMUR CoCr MODiJLAR NECK component, regardless of whether that
                       communication involved the personal experience ofthe surgeon with a patient.
             27
             28

                  JOINT STIPULATION RE: PLAINTIFFS' MOTION TO COMPEL FURTHER DISCOVERY RESPONSES AND
                                            PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                      RESPONSE TO REQUEST FOR PRODUCTION NO.48:
                      The general objections above are incorporated by reference as though fully set
             2        forth herein. MicroPort objects to this Request on the grounds that it seeks
             3        information neither relevant to the subject matter of this litigation nor
                      proportional to the needs of the case because it seeks documents, for an
             4        unlimited period oftime, concerning a failure mode (corrosion) and numerous
                      hip implant components which Plaintiff did not receive and which are not at
             5        issue in this case. Moreover, this Request seeks communications concerning
                      other patients, surgeons and product failures, all of which have no relevance to
             6        the claims asserted by Plaintiffin this case. Subject to, and without waiver of,the
             7        foregoing objections, upon the entry of a stipulated confidentiality order,
                      MicroPort will produce responsive documents for fracture complaints of the
             8        modular neck component which Plaintiff received and is at issue in this case,
                      including Plaintiffs complaint file, which may contain information responsive to
             9        this Request as it pertains to Plaintiff and the modular neck component she
            10        received.

            11        REQUEST FOR PRODUCTION NO. 51:
                      All published or presented material in YOUR possession wherein a PATIENT or
a           12        recipient ofa WRIGHT artificial hip speaks, promotes,or advocates on behalfof
a    3 w              any WRIGHT artificial hip implant product, including, without limitation, any
    .a ..   13        video footage of same.
    ~ U
      ~;
     ~~     14
                      RESPONSE TO REQUEST FOR PRODUCTION NO. 51:
w ~o ~,
     ~ 15             The general objections above are incorporated by reference as though fully set
w                     forth herein. MicroPort objects on grounds this Request seeks documents which
       m    16        neither Plaintiff nor her treating physicians reviewed or relied upon, and are
            17        therefore not relevant to Plaintiffs claims. MicroPort further objects to the extent
                      that the Request calls for documents that are publicly available, equally available
            18        from another party, and/or are outside MicroPort's possession, custody or
                      control. MicroPort further objects to this Request on the grounds that it seeks
            19        information neither relevant to the subject matter of this litigation nor
                      proportional to the needs of the case because it seeks documents, for an
            20        unlimited period oftime,concerning any and all hip products-some ofwhich are
            21        comprised ofa different material-which Plaintiff did not receive and which are
                      not at issue in this case. Read literally, this Request seeks any and all materials,
            22        relating in any way to the promotion of over thirty hip implant components
                      without any geographic or temporal limitations. MicroPort further objects that
            23        the terms "published or presented material" are vague,ambiguous and undefined
            24        within the context of this Request. Subject to, and without waiver of, the
                      foregoing objections, MicroPort responds that it will produce responsive, non-
            25        privileged documents in its custody or control demonstrating marketing ofthe
                      PRO FEMURS CoCr modular neck, model PHAC-1254, if any.
            26
                      REQUEST FOR PRODUCTION NO. 52:
            27        All published or presented material in YOUR possession wherein a PATIENT or
            28        recipient of a NIICROPORT or WRIGHT artificial hip with a TITANIUM or

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                                          PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                          CoCr MODULAR NECK speaks, promotes, or advocates on behalf of any
                          NIICROPORT or WRIGHT artificial hip implant product, including, without
                2         limitation, any video footage of same.
                3
                          RESPONSE TO REQUEST FOR PRODUCTION NO. 52:
                4         The general objections above are incorporated by reference as though fully set
                          forth herein. MicroPort objects on grounds this Request seeks documents which
                5         neither Plaintiff nor her treating physicians reviewed or relied upon, and are
                          therefore not relevant to Plaintiffs claims. MicroPort further objects to the extent
                6         that the Request calls for documents that are publicly available, equally available
                7         from another party, and/or are outside MicroPort's possession, custody or
                          control. MicroPort further objects to this Request on the grounds that it seeks
                8         information neither relevant to the subject matter of this litigation nor
                          proportional to the needs of the case because it seeks documents, for an
                9         unlimited period oftime, concerning any and all hip products-some ofwhich are
               10         comprised of a different material-which Plaintiff did not receive and which are
                          not at issue in this case. Read literally, this Request seeks any and all materials,
               11         relating in any way to the promotion of over thirty hip implant components
                          without any geographic or temporal limitations. MicroPort further objects that
a              12         the terms"published or presented material" are vague,ambiguous and undefined
     3.
      w
      ,                   within the context of this Request. Subject to, and without waiver of, the
               13         foregoing objections, MicroPort responds that it will produce responsive, non-
     ~ U
     ~, ~' 14             privileged documents in its custody or control demonstrating marketing of the
                          PRO FEMURS CoCr modular neck, model PHAC-1254, if any.
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W                         REQUEST FOR PRODUCTION NO. 54:
i         ~a   16         All DOCUMENTS in YOUR possession RELATING TO WRIGHT'S,
               17         Cremascoli's, or MICROPORT'S failure mode analysis ofthe Ti6A14V NECK
                          or CoCr NECK, including but not limited to any conclusions formulated or
               18         reached as a result of said investigation or analysis.
               19         RESPONSE TO REQUEST FOR PRODUCTION NO. 54:
                          The general objections above are incorporated by reference as though fully set
               20         forth herein. MicroPort objects to the extent the Request seeks documents
               21         authored and maintained by a party over whom MicroPort has no control.
                          MicroPort further objects to this Request on the grounds that it seeks information
               22         neither relevant to the subject matter of this litigation nor proportional to the
                          needs of the case because it seeks documents, for an unlimited period of time,
               23         concerning products —some of which are comprised of a different material —
               24'        whichPlaintiff did not receive and which are not at issue in this case. MicroPort
                          further objects that the term "failure mode analysis" is vague, ambiguous and
               25         undefined within the context ofthis Request. Subject to, and without waiver of,
                          the foregoing objections, upon the entry of a stipulated confidentiality order,
               26         MicroPort responds that it will produce the device development file and risk
                          assessment and analysis forms for the PROFEMUR~ modular neck component
               27         at issue, which may include information responsive to this Request.
               28
                     JOINT STIPULATION RE:PLAINTIFFS' MOTION TO COMPEL FURTHER DISCOVERY RESPONSES AND
                                              PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                   REQUEST FOR PRODUCTION NO. 55:
                   All DOCUMENTS in YOUR possession RELATING TO WRIGHT'S,
          2        Cremascoli's, or MICROPORT'S failure mode analysis of the PROFEMLTR
          3        DEVICE and/or its predecessor device, including but not limited to any
                   conclusions formulated or reached as a result of said investigation or analysis.
          4
                   RESPONSE TO REQUEST FOR PRODUCTION NO. 55:
          5        The general objections above are incorporated by reference as though fully set
                   forth herein. MicroPort objects to the extent the Request seeks documents
          6        authored and maintained by a party over whom MicroPort has no control.
          7        MicroPort further objects to this Request on the grounds that it seeks information
                   neither relevant to the subject matter of this litigation nor proportional to the
          8        needs of the case because it seeks documents, for an unlimited period oftime,
                   concerning products-some of which are comprised ofa different material-which
          9        Plaintiff did not receive and which are not at issue in this case. MicroPort further
         10        objects that the terms "failure mode analysis" and "predecessor device" are
                   vague, ambiguous and undefined within the context ofthis Request. Subject to,
         11        and without waiver of, the foregoing objections, upon the entry of a stipulated
                   confidentiality order, MicroPort responds that it will produce the device
a        12        development file and risk assessment and analysis forms for the PROFEMUR~
a 3 ._             modular neck component at issue, which may include information responsive to
3~ U     13        this Request.
    ~ ~;
   ~ ~ 14          REQUEST FOR PRODUCTION NO. 57:
w ~~o ~.
      x~
         15        Produce a copy of all DOCUMENTS provided to YOUR employees and
w                  marketing, distribution, and sales personnel, on how to educate, inform, and
i ~o 16
                   notify surgeons and other users or purchasers of the PROFEMUR DEVICE,
         17        including but not limited to technical monographs, surgical technique guides,
                   frequently asked questions brochures, and other DOCUMENTS that reflect,
         18        address, discuss or reference regulatory issues, concerns, problems or
                   requirements related to PROFEMUR DEVICE.
         19
                  RESPONSE TO REQUEST FOR PRODUCTION NO. 57:
         20       The general objections above are incorporated by reference as though fully set
         21       forth herein. MicroPort objects to this Request on the grounds that it seeks
                  information neither relevant to the subject matter of this litigation nor
         22       proportional to the needs of the case because it seeks documents, for an
                  unlimited period oftime,concerning products-some ofwhich are comprised ofa
         23       different material-which Plaintiff did not receive and which are not at issue in
         24       this case. MicroPort further objects that the terms "other users or purchasers" and
                  "regulatory issues, concerns, problems or requirements" are vague, ambiguous
         25       and undefined within the context ofthis Request. Subject to, and without waiver
                  of, the foregoing objections, MicroPort responds that it will produce the IFUs,
         26       surgical technique,technical monographs,and other marketing materials for the
                  PROFEMUR~ neck component at issue in this case.
         27
         28
              JOINT STIPULATION RE:PLAINTIFFS' MOTION TO COMPEL FURTHER DISCOVERY RESPONSES AND
                                       PRODUCTION OF DOCUMENTS [L.R. 37-2]
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                    REQUEST FOR PRODUCTION NO.65:
                    Produce any documents where YOU compare any aspects, properties,
           2        performance, characteristic, or safety of the CoCr NECK to any other
           3        PROFEMUR DEVICE, including those manufactured using a titanium
                   (Ti6A14V) alloy.
           4
                    RESPONSE TO REQUEST FOR PRODUCTION NO.65:
           5        The general objections above are incorporated by reference as though fully set
                    forth herein. MicroPort objects to this Request on the grounds that it seeks
           6        information neither relevant to the subject matter of this litigation nor
           7        proportional to the needs of the case because it seeks documents, for an
                    unlimited period oftime,concerning products-some ofwhich are comprised ofa
           8        different material-which Plaintiff did not receive and which are not at issue in
                    this case. MicroPort further objects that the terms "aspects, properties,
           9        performance, characteristic, or safety" are vague, ambiguous and undefined
          10        within the context of this Request. Subject to, and without waiver of, the
                    foregoing objections, upon the entry of a stipulated confidentiality order,
          11        MicroPort responds that it will produce the device development file, testing and
                    engineering reports, and post-market surveillance reports for the PROFEMUR~
a~        12        modular neck component which Plaintiff received, which may contain
a 3 ...             information responsive to this Request.
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               JOINT STIPULATION RE: PLAINTIFFS' MOTION TO COMPEL FURTHER DISCOVERY RESPONSES AND
                                         PRODUCTION OF DOCUMENTS [L.R. 37-2]
